Case: 5:17-cv-02408-SL Doc #: 1-9 Filed: 11/16/17 1of 7. PagelD #: 255

EXHIBIT D
Case: 5:17-cv-02408-SL Doc #: 1-9 Filed: 11/16/17 2 of 7. PagelD #: 256

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From: Suzanne Hricko

Sent: Wednesday, September 30, 2015 8:46 AM
To: Sandra M. Emerick

Cc: Lisa N. Weiss

Subject: FW: irregularity report for exam

Hi Sandra,

| just wanted to be sure you got this. | should have sent this also to Dr. Weiss, so | am forwarding it to her now. Thank
you.

From: Suzanne Hricko
Sent: Monday, September 28, 2015 10:36 AM
To: Sandra M. Emerick <semerick@neomed.edu>

Subject: irregularity report for exam

Hi Sandra,

Attached is an irregularity report for the HDS exam that we gave today in Olson. Please see the link below for further
documentation. Perhaps the student is simply nervous, but he needs to be told to keep his eyes on his own computer,

From: Patrick S. Grealis

Sent: Monday, September 28, 2015 10:14 AM
To: Suzanne Hricko <smh@neomed.edu>
Subject: Link

Hi Sue,
Here is the link you requested.

Olson Exam - Sept. 28, 2015
Pat

Patrick S. Grealis

Media Support Specialist

Academic Technology Services

Northeast Ohio Medical University (NEOMED)

4209 St. Rt. 44 | PO Box 95 | Rootstown, Ohio 44272

Phone: 330-325-6797
Case: 5:17-cv-02408-SL Doc #: 1-9 Filed: 11/16/17 3 of 7. PagelD #: 257

Jessica Green

From: Lisa Morris

Sent: Friday, October 02, 2015 9:51 AM

To: Sandra M. Emerick

Subject: RE: irregularity report for exam
Attachments: HDS Quiz Scores Endres andi x's.

| added the answer key in the second row. If they got the answer incorrect it displays as lower case.

Thanks,
Lisa

From: Sandra M. Emerick

Sent: Friday, October 02, 2015 9:49 AM
To: Lisa Morris <Imorris@neomed.edu>
Subject: RE: irregularity report for exam

Thank you Lisa. Is there any way to have the correct answers as well so that I can see if they both got the same
questions wrong?

Please feel free to contact me in my office (B-204), by email at semerick@neomed.edu, or at 330.325.6759 if |
can be of any assistance.

Thank you,
Sandra

Sandra M. Emerick, Ed.D.

Chief Student Affairs Officer
Office of Student Affairs

Northeast Ohio Medical University

4209 St. Rt. 44 | PO Box 95 | Rootstown, Ohio 44272
V 330.325.6759 | c 216.496.1922 | f 330.325.5056 | e semerick@neomed.edu

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Case: 5:17-cv-02408-SL Doc #: 1-9 Filed: 11/16/17 4of 7. PagelD #: 258

From: Lisa Morris

Sent: Friday, October 02, 2015 9:40 AM

To: Suzanne Hricko; Sandra M. Emerick; Lisa N. Weiss
Subject: RE: irregularity report for exam

The attached Excel file contains the HDS quiz 1 responses for Julian Endres an

Thank you,
Lisa M.

From: Suzanne Hricko

Sent: Friday, October 02, 2015 9:23 AM

To: Lisa Morris <Imorris@neomed.edu>

Subject: FW: irregularity report for exam

Can respond to this piease.

From: Sandra M. Emerick
Sent: Friday, October 02, 2015 8:32 AM
To: Suzanne Hricko <smh@neomed,.edu>

Cc: Lisa N. Weiss <Inweiss@neomed.edu>
Subject: RE: irregularity report for exam

Sue — can you send me the exams of Julian Endres and Rone sat to Julian’s right and whose
computer seemed to be where Julian was looking)?
I'd like to compare test answers. Thank you.

Please feel free to contact me in my office (B-204), by email at semerick@neomed.edu, or at 330.325.6759 if |
can be of any assistance.

Thank you,
Sandra

Sandra M. Emerick, Ed.D.

Chief Student Affairs Officer
Office of Student Affairs

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Ingalls-Brown Professor of Anatomy
Department of Anatomy and Neurobiology
Northeast Ohio Medical University
Rootstown, Ohio 44272, U.S.A.

Phone: ++1 330 3256295

https://www.facebook.com/hansthewissenNEOMED ?Ptref=nf

From: Sandra M. Emerick

Sent: Friday, October 2, 2015 10:05 AM

To: Hans Thewissen; Louis D. Barone

Cc: Mary Beth Seith; Heidi Terry; Suzanne Hricko; Elisabeth H. Young
Subject: CONFIDENTIAL: CAPP referral recommendation

CAPP Co-Chairs:

| received an exam irregularity report for the recent HDS quiz (attached). The incident is viewable at: Olson
Exam - Sept. 28, 2015

Hans - before you review the material below and the attachment, consider whether you want to weigh in on
this question because you're also the Course Director.

A student was observed and video taped clearly showing him viewing a peer’s computer screen repeatedly
during the exam. Their test scores compare as follows:

« Student A-— Endres (alleged academic misconduct) (test grade 72%)

e Student B BR corte: being viewed; unaware of misconduct) (test grade 64%)
84% of the 2 tests were identical .
Of the 84% identical , 6 questions were answered wrong by both students (24%) and 15 questions
were answered correctly by both students (60%)
4 questions were answered wrong and differently by both students

&

| would like your feedback regarding whether you believe this matter should be referred to CAPP as an
academic dishonesty allegation.

Please feel free to contact me in my office (B-204}, by email at semerick@neomed.edu, or at 330.325.6759 if |
can be of any assistance.

Thank you,
Sandra

Sandra M. Emerick, Ed.D.
Chief Student Affairs Officer
Office of Student Affairs

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Jessica Green

From: Sandra M. Emerick

Sent: Monday, October 05, 2015 4:26 PM

To: Jessica Green

Ce: Mary Beth Seith

Subject: FW: CONFIDENTIAL: CAPP referral recommendation
Attachments; HDS Quiz Scores Endres and sx

Follow Up Flag: Follow up

Flag Status: Flagged

Please include this emai! below and the link (Olson Exam - Sept. 28, 2015) in your file information for a CAPP
Phase 2 referral, Julian Endres (M1), Also include the attached quiz results. Thank you Jessica.

Please feel free to contact me in my office (B-204), by email at semerick@neomed.edu, or at 330.325.6759 if |
can be of any assistance.

Thank you,
Sandra
Sandra M. Emerick, Ed.D.

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From: Hans Thewissen

Sent: Friday, October 02, 2015 7:05 PM

To: Sandra M. Emerick; Louis D. Barone

Cc: Mary Beth Seith; Heidi Terry; Suzanne Hricko; Elisabeth H. Young
Subject: Re: CONFIDENTIAL: CAPP referral recommendation

Yes, refer to CAPP.
J, G. M, ’Hans' Thewissen, Ph. D.
